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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


     JAY MINERLEY, Individually            No. 13-cv-1377 (NLH/KMW)
     and as Class Representative,
                                           OPINION
                    Plaintiff,

           v.

     AETNA, INC., AETNA HEALTH
     INC., AETNA HEALTH INSURANCE
     CO., AETNA LIFE INSURANCE
     CO., and THE RAWLINGS
     COMPANY, LLC,

                    Defendants.


 APPEARANCES:

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      On behalf of Plaintiff

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      On behalf of Defendants
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      On behalf of Defendants


 HILLMAN, District Judge

       This matter concerns alleged violations of New Jersey

 insurance regulation laws.       Plaintiff Jay Minerley appeals

 Magistrate Judge Karen Williams’s December 15, 2017 Discovery

 Order.    For the reasons that follow, the Magistrate Judge’s

 December 15, 2017 Discovery Order will be affirmed.

                                      I.

       The Court held a status hearing in this matter on June 26,

 2017, in which the Court discussed some additional discovery

 that might be useful in this case, including discovery on

 certain claims history.      On July 11, 2017, the Court issued the

 following text order:

       The Court having considered the parties’ letters at
       docket entries 154 and 156 concerning the current scope
       of permitted discovery following the status hearing held
       on June 26, 2017, it shall be, and hereby is ORDERED
       that Aetna shall provide to Plaintiff the identification
       of names and addresses of every Weiss-Aug employee, and
       any covered family member, against whose third party
       tort recovery Aetna and/or Rawlings asserted, and
       collected, a subrogation lien.



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 Thereafter, the parties had a dispute over the scope of

 discovery.    On November 28, 2017, Plaintiff filed a letter with

 the Court addressed to the Magistrate Judge concerning “the

 parties’ dispute regarding Defendants’ objections to Plaintiff’s

 four interrogatories and four document requests.”          Namely, the

 dispute concerned Plaintiff’s request for discovery on the

 history of Defendants’ assertion of subrogation liens in plans

 involving other New Jersey employers.

       Following a telephone conference, on December 15, 2017, the

 Magistrate Judge entered a Discovery Order stating: “The request

 to conduct discovery as to other plan members in analogous plans

 who have out of state employees with subrogation claims is

 DENIED.”    Plaintiff filed an appeal of the Discovery Order on

 December 29, 2017.

                                     II.

       Federal Rule of Civil Procedure 72(a) provides:

       When a pretrial matter not dispositive of a party’s claim
       or defense is referred to a magistrate judge to hear and
       decide, the magistrate judge must promptly conduct the
       required proceedings and, when appropriate, issue a
       written order stating the decision. A party may serve
       and file objections to the order within 14 days after
       being served with a copy.     A party may not assign as
       error a defect in the order not timely objected to. The
       district judge in the case must consider timely
       objections and modify or set aside any part of the order




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       that is clearly erroneous or is contrary to law. 1

 Thus, Rule 72(a) requires this Court adhere to a “clearly

 erroneous” or “contrary to law” standard of review.           This

 standard requires the Court accord the Magistrate Judge “wide

 discretion.”     United States v. Sensient Colors, Inc., 649 F.

 Supp. 2d 309, 314-15 (D.N.J. 2009) (quoting Miller v.

 Beneficiary Mgmt. Corp., 844 F. Supp. 990, 997 (D.N.J. 1993)).

       “A magistrate judge’s decision is clearly erroneous ‘when,

 although there may be some evidence to support it, the reviewing

 court, after considering the entirety of the evidence, is “left

 with the definite and firm conviction that a mistake has been

 committed.”’”     Id. at 315 (quoting Kounelis v. Sherrer, 529 F.

 Supp. 2d 503, 518 (D.N.J. 2008)).        “A magistrate judge’s

 decision is contrary to law when he or she has ‘misinterpreted

 or misapplied applicable law.’”        Id. (quoting Kounelis, 529 F.

 Supp. 2d at 518).     “Particular deference is accorded to

 magistrate judges on discovery issues.”         Costa v. County of


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       Local Civil Rule 72.1(c) provides similarly:

       Any party may appeal from a Magistrate Judge’s
       determination of a non-dispositive matter within 14 days
       after the party has been served with a copy of the
       Magistrate Judge’s order . . . . A Judge shall consider
       the appeal . . . and set aside any portion of the
       Magistrate Judge’s order found to be clearly erroneous
       or contrary to law.

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 Burlington, 584 F. Supp. 2d 681, 684 n.2 (D.N.J. 2008).

       “The burden of demonstrating clear error rests with the

 appealing party.”     Sensient Colors, 649 F. Supp. 2d at 315

 (citing Kounelis, 529 F. Supp. 2d at 518).

                                     III.

       This dispute concerns the scope of discovery.          Federal Rule

 of Civil Procedure 26(b)(1) governs the scope of discovery:

       Unless otherwise limited by court order, the scope of
       discovery is as follows: Parties may obtain discovery
       regarding any nonprivileged matter that is relevant to
       any party’s claim or defense and proportional to the
       needs of the case, considering the importance of the
       issues at stake in the action, the amount in controversy,
       the parties’ relative access to relevant information,
       the parties’ resources, the importance of the discovery
       in resolving the issues, and whether the burden or
       expense of the proposed discovery outweighs its likely
       benefit.   Information within this scope of discovery
       need not be admissible in evidence to be discoverable.

       Plaintiff argues the Magistrate Judge’s Order “is contrary

 to the spirit of the Court’s July 11, 2017 Order.”           However, the

 Court’s July 11, 2017 Order concerned other Weiss-Aug employees.

 While Plaintiff argues the discovery ordered there is “similar”

 to the discovery requested, Plaintiff is reading this into the

 Court’s Order based on its understanding of the Order’s

 “spirit.”    The Court’s Order, which speaks for itself, did not

 order discovery as broadly as Plaintiff suggests, and to the

 extent the Court’s comments at the June 26, 2017 hearing could


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 have indicated a broader “spirit” of the Order, they did not

 sanction or suggest that such broad discovery was necessary or

 appropriate in this case, nor do they support the assertion that

 the Magistrate Judge’s decision was clearly erroneous or

 contrary to law.

       The Court’s colloquy with counsel at the June 26, 2017

 hearing, to the extent it touched on further discovery, was

 focused on two discrete issues: (1) Aetna’s account executive

 and (2) Plaintiff’s claims history.        Plaintiff focuses on the

 following statement from the Court at the June 26, 2017 hearing:

       Well, here’s what I think we need to do.         I have
       identified two areas of discovery that I think would be
       helpful, and that is the history of the claims, and the
       other would be this account executive from Aetna who was
       there at the time . . . the package of benefits was put
       together . . . .

 (Tr. at 95-96).     Plaintiff interprets the Court’s reference to

 “history of the claims” to refer broadly to “Aetna’s subrogation

 claims.”    However, taken in context with the full scope of the

 hearing, Plaintiff’s interpretation of the Court’s comments is

 erroneous.    Specifically, the Court said:

       I think I would like to see the whole history of the
       relationship just to assure myself that, leaving aside
       whether or not there are factual disputes that need to
       be resolved by a jury, just to make sure that Aetna was
       consistent in its treatment of Mr. Minerley over time.

 (Tr. at 65 (emphasis added)).       The Court also expressed interest


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 in whether “Mr. Minerley’s ordinary and routine medical expenses

 were being paid out of a New Jersey HMO.”         (Tr. at 58).     The

 Court’s focus was clearly on the claims history of Plaintiff.

 Further colloquy with counsel regarding this discovery

 reinforces this conclusion:

       MR. LAWRENCE:     And, your Honor, just because Mr.
                         Rabinovitz and I are going to have to be
                         the ones that do this work, the issue of
                         the materials to produce with respect to
                         the claims, I would envision taking the
                         claims report for the claims prior to the
                         time of his accident.

             . . . .

       MR. LAWRENCE:     And identifying with respect to each of
                         those claims what entity paid for the
                         claim, just like a chart showing those
                         two facts.

       THE COURT:        That’s something      I   think    would    be
                         helpful.

       MR. FOSTER:       What would also be helpful, what we got
                         was a spreadsheet that simply had a lot
                         of    numbers   and    there   was    an
                         identification of number 200 as being
                         Aetna, Inc. of Pennsylvania.     I don’t
                         dispute that because I’ve also seen a
                         list that actually showed that.    But I
                         think that if we had the actual checks,
                         if they’re still available in electronic
                         format, rather than just a spreadsheet
                         showing the check numbers.

       THE COURT:        I would think the backup for the
                         spreadsheet would be helpful.         The
                         perfect world would be all of them. . . .



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             . . . .

       MR. LAWRENCE:     Your honor, . . . we ran his claims for
                         this case already, and we ran the report
                         from 12/31/08 going forward.     Can we
                         start at 12/31/08?

             . . . .

       MR. FOSTER:       I think that’s fine.

       THE COURT:        Let’s see what that shows and that will
                         be good. . . .

 (Tr. at 97-99).

       The Court disagrees with Plaintiff’s interpretation of its

 Order and any broader “spirit” expressed in the Order.           The

 Court finds the Magistrate Judge’s Discovery Order consistent

 with the prior Orders of the Court and not clearly erroneous or

 contrary to law.      The Court will affirm the Magistrate Judge’s

 decision.

       An appropriate Order will be entered.




 Date: August 7, 2018                      s/ Noel L. Hillman
 At Camden, New Jersey                    NOEL L. HILLMAN, U.S.D.J.




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